          Case 4:16-cv-00884-JLH Document 1 Filed 12/07/16 Page 1 of 31
                                                                                    FILED
                                                                                  U.S. DISTRICT COURT
                                                                              EASTERN DISTRICT ARKANSAS



                        In the United Stales District Court
                                                                                  DEC 07 2016
                           Eastern District of Arkansas                JAME~ORMACK, CLERK
                                Western Division                       By:    ~                    DEP CLER«


Brandon Cash                                                        Plaintiff

v.                                      f://,-cv-C8'1-          ~LH
Portfolio Recovery Associates, LLC                                  Defendants

                                                  This case assigned to District Judge       ~              ...
                                  Complaint       an d to M ag1s                 &.M_
                                                              · tra te J udge__.~-....'"""H
                                                                                        ...........----···--~

     1.      This is an action brought by Brandon Cash, an individual

consumer, for Defendant Portfolio Recovery Associates, LLC's violations of

the Fair Debt Collection Practices Act (FDCPA), 15 U.S.C. § 1692, et seq., and

the Arkansas Fair Debt Collection Practices Act (AFDCPA), both of which

prohibit debt collectors from engaging in abusive, deceptive, and unfair

practices.


                                     Parties

     2.      Plaintiff Brandon Cash is a citizen of Faulkner County, Arkansas,

and was so at the time of the events establishing this Complaint. Brandon

Cash is a "consumer" as defined by 15 U.S.C. § 1692a(3) and Ark. Code

Ann.§ 17-24-502(2). The

     3.      Portfolio Recovery Associates, LLC ("Portfolio Recovery Assocs.")

is a foreign limited liability company organized under Delaware law with

its principal place of business located at 120 Corporate Boulevard, Norfolk,

Virginia 23502. Portfolio Recovery Assocs. regularly attempts to collect

debts alleged due from another and is a "debt collector" as defined by 15
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U.S.C. § 1692a(6) and Ark. Code Ann.§ 17-24-502(5)(A). Portfolio Recovery

Assocs. is a licensed debt collector with the Arkansas State Board of

Collection Agencies.


                                   Jurisdiction and Venue

        4.     This Court has original jurisdiction over this civil action under 28

U.S.C. § 1331and15 U.S.C. § 1692k(d), because Brandon Cash's claims for

violations of the FDCPA arise under the law of the United States. This Court

has supplemental jurisdiction over Brandon Cash's remaining claims under

28 U.S.C. § 1367 because those claims are so related to his claims for

violations of the FDCPA they form part of the same case or controversy

under Article III of the United States Constitution.

        5.     The Court has in personam jurisdiction over Portfolio Recovery

Assocs. under Arkansas' "long-arm" statute.' This Court's assertion or

jurisdiction over Portfolio Recovery Assocs., is consistent with due process

because it has sufficient minimum contacts with Arkansas so that this

Court's exercise of jurisdiction is consistent with traditional notions of fair

play and substantial justice. Portfolio Recovery Assocs. purposefully availed

itself of the protection of the laws of Arkansas should reasonably anticipate

being haled into court in Arkansas by attempting to collect a consumer debt

from an Arkansas citizen. This Court's exercise of jurisdiction over Portfolio



1   Ark. Code Ann.§ 16-4-lOl(B).



                                                                                      2
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Recovery Assocs. is reasonable. Furthermore, this Court's assertion or

jurisdiction over Portfolio Recovery Assocs. is consistent with due process

because it has sufficient minimum contacts with Arkansas so that this

Court's exercise of jurisdiction is consistent with traditional notions of fair

play and substantial justice based on the following factors:

           • Portfolio Recovery Assocs. sends dunning letters to Arkansas

              residents in order to collect consumer debts;

           • Portfolio Recovery Assocs. files thousands of debt collection

              lawsuits in Arkansas Circuit and District Courts each year;

           • Portfolio Recovery Assocs. typically provides Affidavits in

              support of allegations in these debt collection complaints by

              having a Custodian of Records sign these Affidavits.

           • Brandon Cash's cause of actions asserted herein are directly

              related to each Portfolio Recovery Assocs.'s contacts with

              Arkansas.

           • Arkansas has an interest in protecting its citizens from violations

              of the FDCPA and the AFDCPA.

           • This Court is a convenient forum for all parties to resolve

              Brandon Cash's claims and causes of action.

     6.     Venue is proper in this Court under 28U.S.C.§1391(b)(2) because

a substantial part of the events or omissions establishing the claim occurred

in this judicial district and division.



                                                                                  3
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                                 Factual Background

        7.     The debt Portfolio Recovery Assocs. attempted to collect from

Brandon Cash is a financial obligation for personal, family, or household

purposes and is a "debt" as defined by 15 U.S.C. § 1692a(5) and Ark. Code

Ann.§ 17-24-502(4).

        8.     On or about January 11, 2016, Portfolio Recovery Assocs. sent

Brandon Cash a dunning letter, attempting to collect a defaulted and

charged-off Synchrony Bank credit card account. The dunning letter stated

the account balance was $658.39. Brandon Cash received the letter in the
                                     2




mail.

        9.      On or about March 1, 2016, Portfolio Recovery Assocs. sent

Brandon Cash a dunning letter, attempting to collect a defaulted and

charged-off Synchrony Bank credit card account. The dunning letter stated

the account balance was $658.39.' Brandon Cash received the letter in the

mail.

        10. On or about May 23, 2016, Portfolio Recovery Assocs. sent

Brandon Cash a dunning letter, attempting to collect a defaulted and

charged-off Synchrony Bank credit card account. The dunning letter stated




'See attached Exhibit 1.

' See attached Exhibit 2.




                                                                               4
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the account balance was $658.39. The dunning letter stated the account

balance was $658.39.• Brandon Cash received the letter in the mail.

      11. On October 10, 2015, Portfolio Recovery Assocs. filed a Complaint

in the District Court of Faulkner County, Arkansas, alleging a cause of

action for Account Stated, and alleging that Brandon Cash purchased

certain items with extensions of credit obtained on his Synchrony Bank

account and that the amount due on the stated account was $658.39. The

Complaint sought to recover $658.39 plus costs.'

      12. On or about November 14, 2016, Portfolio Recovery Assocs.

served Brandon Cash with the Summons and Complaint.

      13. Brandon Cash's TransUnion credit report shows that Synchrony

Bank reported that the amount charged-off from his credit card account was

$457.00.

      14. Brandon Cash's Equifax credit report shows that Synchrony Bank

reported that the amount charged-off from his credit card account was

$457.00.

      15. Portfolio Recovery Assocs. reported to credit reporting bureaus

Equifax and TransUnion that the balance Brandon Cash owed it on the

charged-off and defaulted Synchrony Bank credit card account was $658.00.




• See attached Exhibit 3.

• See attached Exhibit 4.



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                       Respondeat Superior Liability

     16. The acts and omissions of employees and agents of Portfolio

Recovery Assocs. who prepared and sent the dunning letters and prepared,

filed, and served the debt-collection lawsuit were committed within the

time and space limits of their agency relationship with their principal

Portfolio Recovery Assocs.

     17. The acts and omissions of Portfolio Recovery Assocs.'s employees

and agents, were incidental to, or of the same general nature as, the

responsibilities these employees and agents could perform for Portfolio

Recovery Assocs.

     18. By committing these acts and omissions against Brandon Cash,

Portfolio Recovery Assocs.'s and other employees and agents were

motivated to benefit their principal, Portfolio Recovery Assocs.

     19. Portfolio Recovery Assocs. is therefore liable to Brandon Cash

under the doctrine of respondeat superior for the intentional and negligent

acts, errors, and omissions that violated federal and state law by their

collection employees and agents, including violations of the FDCPA, and

the AFDCPA, in its attempts to collect a consumer debt from Brandon Cash.


                                   Standing

     20. Brandon Cash has standing under Article III of the United States

Constitution because she has suffered an injury in fact, the injury in fact is

traceable to the challenged conduct of Portfolio Recovery Assocs. described



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herein, and his injury in fact is likely to be redressed by a favorable judicial

decision in this Court. Brandon Cash's injury in fact is both particular and

concrete because he suffered an invasion of a legally protected interest that

is concrete, particularized and actual or imminent. Many provisions of the

FDCPA, the AFDCPA, and Arkansas's common law recognize a consumer's

right to privacy and provides redress for violations of those privacy rights,

including the right to be left alone from debt collection efforts in amounts

the consumer does not owe.


                               Causes of Action

         Count I-Violations of the FDCPA, 15 U.S.C. § 1692, et seq.

     21. Brandon Cash re-alleges and incorporates the foregoing

paragraphs, as if set forth word for word.

     22. Portfolio Recovery Assocs. violated the FDCPA. Portfolio

Recovery Assocs.'s violations include, but are not limited to, the following

provisions:

          a.    Portfolio Recovery Assocs. violated 15U.S.C.§1692e by

                using false, deceptive, or misleading representations or

                means in connection with the collection of a debt;

          b.    Portfolio Recovery Assocs. violated 15U.S.C.§1692e(2) by

                making false, deceptive, or misleading representations about

                the character, amount, or legal status of the alleged debt;




                                                                                   7
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           c.   Portfolio Recovery Assocs. violated 15 U.S.C. § 1692e(8) by

                communicating false credit information;

           d.   Portfolio Recovery Assocs. violated 15 U.S.C. § 1692e(10) by

                making false representations or using deceptive means to

                collect the alleged debt;

           e.   Portfolio Recovery Assocs. violated 15 U.S.C. § 1692£ by

                making unfair and unconscionable means to collect or

                attempt to collect the alleged debt; and

           £.   Portfolio Recovery Assocs. violated 15 U.S.C. § 1692£(1) by

                attempting to collect an amount not authorized by the

                agreement creating the alleged debt or permitted by law.

     23. Because of the above violations of the FDCPA, Portfolio Recovery

Assocs. is liable to Brandon Cash for a declaratory judgment that

Defendants' conduct violated the FDCPA, statutory damages of $1,000

under 15 U.S.C. § 1692k(a)(2)(A), and costs and reasonable attorney fees

under 15 U.S.C. § 1692k(a)(3).


  Count II-Violations of the AFDCPA, Ark. Code Ann.§ 17-24-501, et seq.

     24. Brandon Cash re-alleges and incorporates the foregoing

paragraphs, as if set forth word for word.

     25.   Portfolio Recovery Assocs. violated the AFDCPA. Portfolio

Recovery Assocs.'s violations include, but are not limited to, the following

provisions:



                                                                               8
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          a.   Portfolio Recovery A.ssocs. violated Ark. Code Ann.§ 17-24-

               506(a) by using false, deceptive, or misleading

               representations or means in connection with the collection of

               a debt;

          b.   Portfolio Recovery Assocs. violated Ark. Code Ann.§ 17-24-

               506(b )(2)(A) by making false, deceptive, or misleading

               representations about the character, amount, or legal status

               of the alleged debt;

          c.   Portfolio Recovery Assocs. violated Ark. Code Ann.§ 17-24-

               506(b )(8) by communicating false credit information;

          d.   Portfolio Recovery Assocs. violated Ark. Code Ann.§ 17-24-

               506(b )(10) by making false representations or using

               deceptive means to collect the alleged debt;

          e.   Portfolio Recovery Assocs. violated Ark. Code Ann.§ 17-24-

               507(a) by making unfair and unconscionable means to collect

               or attempt to collect the alleged debt;

          f.   Portfolio Recovery Assocs. violated Ark. Code Ann.§ 17-24-

               507(b)(l) by attempting to collect an amount not authorized

               by the agreement creating the alleged debt or permitted by

               law.

    26.   Because of the above violations of the AFDCPA, Portfolio

Recovery Assocs. is liable to Brandon Cash for a declaratory judgment that

its conduct violated the AFDCPA, statutory damages of $1,000 under Ark.


                                                                              9
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Code Ann.§ 17-24-512(a)(2)(A), and costs and reasonable attorney fees

under Ark. Code Ann.§ 17-24-512(a)(3)(A).


                                Jury Demand
     27. Brandon Cash demands a jury trial.


                              Prayer for Relief

     Brandon Cash prays judgment be entered against Portfolio Recovery

Assocs. for his statutory damages, costs and reasonable attorney fees, and

for such other relief as may be just and proper.

                                    Respectfully submitted


                                    Core
                                    Ark. ar
                                    William T. Crowder
                                    Ark.Bar:No.2003138
                                    CROWDER MCGAHA,       LLP
                                    5507 Ranch Drive, Suite 202
                                    Little Rock, AR 72223
                                    Phone: (501) 205-4026
                                    Fax: (501) 367-8208
                                    .cm~aha@crowdermcgaha.com
                                    wcrowder@crowdermcgaha.com

                                    Counsel for Plaintiff Brandon Cash




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Seller: SYNCHRONY BANK
Merchant WAL-MART
Original Creditor: SYNCHRONY SANK


Aecount Number:
Credlklr to Whom Debt Is Owed: Portfolio Reco\lely Associates, LLC
Cummt Balanee Due:                        $658.39
                                                                                       Portfolio Recovery
                                                                                                                    "
                                                                                                      "' Assodates,·LLC
                                                                                                                                       March 1, 2016




Dear BRANDON CASH,
For nearly 20 years, Portfolio Recovery Associates. LLC ("PRA, LLC") has helped customers across the country
resolve their debt. Please contact us directly to find out how we can help you. We are committed to working With you
to design a plan that fits your budget. Call us today!

               S!nqle Pavment                                           12Montb                                     26Montb
                Savings Plan                                       Installment Option                          Installment Option
 • Pay $527.00                                         • Pay$47.00for12                              • Pay $25.00 for 26
                                                         consecutive months                            consecutive months
 • Save $131.39
                                                       • Save $94.39
 Your account will be considered                       Your account will be considered               Your account will be considered
 "Settled in Full' after your final payment            ·settled in Full" after your final payment    •Paid ln Full" after your final payment Is
 is posted.                                            ls posted.                                    posted.

                           •••your first or full payment must be received no later than IJ3/3.1/2016"**
                                 Call now to get started or to learn about other payment options!



  e       We are ready to help you resolve this debt!
                               Justcatt:
                          1..ao0-772-1413
                   before 03131/20111
                      to discuss the
                                                                             ~ Mail all checks and payments to:
                                                                             . . . PORTFOLIO RECOVERY ASSOCIATES, LLC
                                                                             ..    P.O. Box 12914
                                                                                   Norfolk VA 23541
           AFFORDABLE PAYMENT OPTIONS
                that are available to you.                                                            Pay Online Using
             (EST} 8 Afli to 11 PM Mon.-Fri.
        SAM to 8 PM Sat• 11AMto11 PM Sun.                                     Ii                    Your Checking Account!
                                                                                                www.portfollo~.,.y.com




         This communication Is from a debt collector and Is an attempt to collect a debt
                   Any information obtained will be used for that purpose.




                                             NOTICE: See Reverse Side for Important Information

_'.!.@eM.691~Lm • _________ ·- __ ----· __ ~.P.m.r<!t'IMPJfllffl.~!IB=~~~~~~.--.-.--.-.--.·~ ..1.1
                                                                                                 .-.-.--•------------
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                                                                                 Payment Amount$._ _ _ _ __
COPRAS01
POBox1022
Wixom Ml 48393-1022
ADDRESS SERVICE REQUESTED                                                       Mall all cheel<I at1d payments to:

March 1, 2016
                                                                                 PORTFOLIO RECOVERY ASSOCIATES, LLC
                                                                                 P.O. Box 12914
                                                                                 Norfolk VA 23541
47M2          72895438
hlll1l1olillp1•lllltllh 1llll 1l11ll11l11l1flf11•lll•l•1 11ll''"
BRANDON CASH
2616 Bruce SI# A
Conway AR 72034-6111
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• We are not obligated to renew this offer.


Company Addntea: Portfolio Recovery Associates, LLC, 120 Corporate Blvd., Norfolk, VA 23502

Disputes Correspondence Addren; 140 Corporate Blvd., Norfolk, VA 23502 or E-mail:
PRA_Disputes@portfoliorecovery.com

Quality Service Speclallats Available Mon. - Fri. 8 AM TO 5 PM {EST)
Not happy with the way you were treated? Our company strives to provide profeS$ional and courteous service to au
our customers. Contact one of our staff to discuss issues related to our quality of selYfce to you by phone at
(866) 925-7109 or by e-maH at qualityservice@portfoliorecovery.com.

PRIVACY NOTICE: We collect certain penional information about you from the fottowing sources: (a) information we
receive from you; (b) Information about your transactions with our affiliates, others or us; (c) Information we receive
from consumer reporting agencies. We do not dlselose any nonpublic personal information about our customers or
former customers to anyone, except as permitted by law. We restrict access to nonpublic information about you to
those employees and entitles that need to know that Information in order to collect your account We maintain
physical, electronic and procedural safeguards that comply with federal regulations to guard your nonpublic personal
information.
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May23,2016
                     '1 Portfolio Recovery Associates, LLC
Account Number:••••••
SELLER: SYNCHRONY BANK
MERCHANT: WAL·MART
ORIGINAL CREDITOR: SYNCHRONY BANK
CHARGE-OFF CREDITOR: SYNCHRONY BANK
LAST 4 DIGITS OF CHARGE-OFF ACCOUNT NUMBER: -
Creditor to Whom Debt Is Owed: Portfolio Recovery Associates, LLC.                                              Balance: $658.39"*

                   Second Notice: Account Transferred to Litigation Department
At tills time, no attorney within the Litigation Department has personally reviewed the particular circumstances of your
account We want to help! Please set up payment arrangements with our friendly representatives today.
This account can be settled for $526.71 If funds are received in our office by 06121/2018. Your account will be
considered "Settled In Full" once your payment is succestfully posted.
BBlleflts of settling this account by this date:
• Your debt on this account win be resolved
• All collection activities on this account will cease
• If our company Is reporting this account to the three major credit reporting agencies, we will request that our
    company's tradeline be updated to reflect that this account Is now settled.
Please contact our office no later than 06/21/2018 by calling during our business hours to discuss how we can work
together to resolve this account. We reserve the right to withdraw or modify this offer at a later date If no payments or
payment arrangements are made by08/21/2018.
Various Payment Options Available Including:


                                       Call:    e                                                   Mall: 183
 Call Toll-Free at 1-866-428-8102 to:                                          •   Complete the attached coupon
                                                                               •   Make all checks and payments to:
 •    Discuss payment arrangements                                                 PORTFOLIO RECOVERY ASSOCIATES, LLC.
 •    Authorize automatic withdrawals from your bank account                       P.O. Box 12903
 •    Complete a debit card payment                                                Norfolk VA 23541

Business Hours:   8AM·11PM Mon. Wed. Thu.; 8AM-9PM Tue. Fri., and SAM to 6PM Sat. {EST)
           ··-'"'        .. __                                               ··-
We ere not obligated to renew this offer.
••The following Is a breakdown of your balance since charge-off:
Total Amount of Debt Due at charge-off: $658.39
Total Amount of Transactions since charge-off:
        Interest: $0.00
        Non-Interest Charges/Fees or Balance Adjustments: $0.00
        Payments: $0.00
Total Now Due: $658.39

You may request copies of documentation relating to your account which includes original account-level documentation
available to Portfolio Recovery Associates, LLC, account chain of tltie, and either a signed account application or account
statements reflecting a purchase, payment or other use of the account. To do so, you must send your request in writing to:
Portfolio Recovery Associates, UC, 140 Corporate Boulevard, Norfolk, VA 23502. Portfolio Recovery Associates, UC will
provide the documentation to you at no cost within 30 days of receiving your request.
            This communication Is from a debt collector and Is an attempt to collect a debt.
                      Any Information obtained will be used for that purpose.
                                               Notice: See Reverse Side for Important Information




     DEPT 922
     POBOX4115
               7789089216051

     CONCORD CA 94524

     1111111ua11111111111111mmHDIJlllllllilDWllllJlllUIUI
                                                                            ...
                                                                             Payment Amount: _ _ _ _ _ __

                                                                             Make all checks payable to Portfolio Recovery
     ADDRESS SERVICE REQUESTED                                               Associates, LLC
     #BWNFTZF #9227780089216051 #

111l'rlll 11 111•'l••l•1l"1l 111l•'l111 1h11 '111ll(111l 111 lll 111 1ll
                                                                                   LL2
              BRANDON CASH                                                         PORTFOLIO RECOVERY ASSOCIATES LLC.
              2616 BRUCE ST I# A                                                   P.O. Box 12903
              CONWAY AR 72034-6111                                                 Norfolk VA 23541



               thibi~---·----'
   Case 4:16-cv-00884-JLH Document 1 Filed 12/07/16 Page 15 of 31

MAKE ALL CHECKS PAYABLE TO: Portfolio Recovery Associates, LLC
SEND ALL PAYMENTS TO: Portfolio Recovery Associates, LLC, P.O. Box 12903, Norfolk, VA 23541
COMPANY ADDRESS: Portfolio Recovery Associates, LLC, 120 Corporate Boulevard, Norfolk, VA 23502
DISPUTES CORRESPONDENCE ADDRESS: Portfolio Recovery Associates, LLC, Disputes Department, 140 Corporate
Boulevard, Norfolk, VA 23502
DISPUTES DEPARTMENT E·MAIL ADDRESS: PRA_Dlsputes@portfoliorecovery.com
QUALITY SERVICE SPECIALISTS AVAILABLE Mon.· Fri. 8 AM to 5 PM (EST)
Not happy with the way you were treated? Our company strives to provide professional and courteous service to all our
customers. Contact one of our staff to discuss issues related to our quality of service to you by phone at (866) 925-7109
or by e-mail at qualltyservlce@portfollorecovery.com.
PRIVACY NOTICE: We collect certain personal information about you from the following sources: (a) information we
received from you: (b) information about yt>tlr'transactions with our affiliates, others, or us; (i::) information we receive from
consumer reporting agencies. We do not disclose any nonpublic personal Information about our customers or former
customers to anyone, except as permitted by law. We restrict access to nonpublic infonnation about you to those
employees and entities that need to know that information In order to collect your account. We maintain physical, electronic
and procedural safeguards that comply with federal regulations to guard your nonpublic personal information.
NOTICE: We are required under state law to notify consumers of the following rights. This list does not include a complete
list of rights consumers have under state and federal laws:
COLORADO: Office located at 4600 South Syracuse Street, Suite 938, Denver, CO 80237. Telephone 1·866·508-4751.
MAINE: Telephone number at licensed location is (800) 772·1413. Hours of operation at licensed location are 8AM-11PM
Mon. Wed. Thu.; SAM· 9PM Tue. Fri., SAM to 5PM Sat., (EST).
MASSACHUSETTS: Office located 49 Wlnter St., Weymouth, MA 02188. Telephone (800) 772-1413. Hours of operation
are 9 AM to 6 PM EST Monday through Thu~_. NOTICE OF IMPORTANT RIGHTS: YOU HAVE THE RIGHT TO
MAKE A WRITTEN OR ORAL REQUEST THAT TELEPHONE CALLS REGARDING YOUR DEBT NOT BE MADE TO
YOU AT YOUR PLACE OF EMPLOYMENT. ANY SUCH ORAL REQUEST WILL BE VALID FOR ONLY TEN DAYS
UNLESS YOU PROVIDE WRITTEN CONFIRMATION OF THE REQUEST POSTMARKED OR DELIVERED WITHIN
SEVEN DAYS OF SUCH REQUEST. YOU MAY TERMINATE THIS REQUEST BY WRITING TO THE DEBT
COLLECTOR.
NEW YORK CITY: City of New York License Numbers 1096994, 1394695, 1394697, 1394696, 1394698, 1394700,
1394699.1394694.
NORTH CAROLINA: Collection Agency Permit No. 4132.
TENNESSEE: This collection agency is licensed by the Tennessee Collection Service Board of the Department of
Commerce and Insurance. (#00000770)
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                IN THE DISTRICT COURT OF FAULKNER COUNTY, ARKANSAS
                                  CONWAY DIVISION

                                           SUMMONS
                                      {NOTICE OF LAWSUIT)

PORTFOLIO RECOVERY ASSOCIATES, LLC                                                                       PLAINTIFF

v.                                    CASE NO.Qt.X..V-                    f(o~
BRANDON CASH                                                                                            DEFENDANT

THE STATE OF ARKANSAS TO DEFENDANT:

BRANDON CASH
2616 BRUCE ST A
CONWAY AR 72034

A lawsuit has been filed against you. The relief demanded is stated in the attached complaint.
Within 30 days after service of this summons on you (not counting the day you received it)-..or
60 days if you are incarcerated in any jail, penitentiary, or other correctional facility in Arkansas-
you must file with the clerk of this court a written answer to the complaint or a motion under
Rule 12 of the Arkansas Rules of Civil Procedure.



           ,•

     riWl.throw
  .o:Box 17248
  ittle Rock, AR 7222
 501) 227-2000 ,.//
                  /                                                                                 .
I ou · respond within the applicable time period, judgment by default may be entered
against you for the relief demanded in the complaint.

                      CLERK OF COURT

Address of Clerk's Office:
Faulkner County District Court
810 Parkway                                                '·              ... · · ·
                                                                                  -:~.

Conway, AR 72032                                                .         / '<"y-"·

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                                                                                                         1Exhibit4
16-01673
a.fl'll\
             Case 4:16-cv-00884-JLH Document 1 Filed 12/07/16 Page 17 of 31
i   -c'



           No. _ _ _ This summons is for BRANDON CASH

             PROOF OF SERVICE

0         I personally delivered the summons and complaint to the individual at
--~-------------on                                           _ _ _ _ _ _ _ _ _ ___.· or
a  I left the summons and complaint in the proximity of the individual by
- - - - - - - - - - - a f t e r he/she refused to receive it when I offered it to
him/her; or

aat _I _
       left_
           the_
              summons
                ___   and_complaint
                           _ _ _at_ the_individual's
                                          ____       dwelling _ _or
                                                       _ _house   _usual
                                                                    __   place
                                                                           __  of abode
                                                                                  _
with                                                                              , a person at least l 4
years of age who resides there, on


a   I delivered the summons and complaint to                                                         an
agent authorized by appoint or by law to receive service of summons on behalf of
~------------~----on                                                                                 ;or
Description of penon receiving documents:
      The person receiving the documents is described as follows:
              Skin Color            Sex           Hair Color
                                                             - - - -Facial(prox)
                                                                           Hair---
              Age               (prox) Height         (prox) Weight

a    I am the plaintiff or an attorney of record for the plaintiff in a lawsuit, and I served the
stimmons and complaint on the defendant by certified mail, return receipt requested, restricted
delivery, as shown by the attached signed return receipt.

Q I am the plaintiff or attorney of record for the plaintiff in this lawsuit, and I mailed a copy of
the summons and complaint by first-class mail to the defendant together with two copies of a
notice and acknowledgment and received the attached notice and acknowledgment form within
twenty days after the date of mailing.

a         Other
[specify]:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


Q         I was unable to execute service because:



My fee is$_ _ _ __




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        Case 4:16-cv-00884-JLH Document 1 Filed 12/07/16 Page 18 of 31



     · To be completed if service is by a sheriff or deputy sheriff:
Date:_ _ _ _ _ _ SHERIFF OF _ _ _ _ _ _ COUNTY, ARKANSAS




        (Print Name, Title & Badge No.}

     To be completed if service is by a person other than a sheriff or deputy sheriff:


        By:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


        (Print Name)
Address:_ _ _ _ _ _ __


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Subscribed and sworn to before me this date:._ _ _ _ __


               Notary Public

My Commission Expires:



Additional infonnation regarding service or attempted service:




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16-01673
        Case 4:16-cv-00884-JLH Document 1 Filed 12/07/16 Page 19 of 31


             IN THE DISTRICT COURT OF FAULKNER COUNTY, ARKANSAS
                               CONWAY DIVISION

PORTFOLIO RECOVERY ASSOCIATES, LLC                                                                             .PLAINTIFF

v.                                CASE NO.     (JJ:Jc:.J - Ifo .. b8Y
BRANDON CASH

                              COMPLAINT-ACCOUNT STt\TED

Comes the Plaintiff and for its cause of action against the Defendant, states:

        1.     That the Plaintiff is a foreign limited liability company authorized to bring this
               action under Ark. Code Ann. §4-32-1008.

        2.     That the Defendant is a resident of Faulkner County, Arkansas.

        3.      Jurisdiction and venue are proper in this Court.

        4.      That Defendant purchased certain items with extensions of credit obtained on
                his/her SYNCHRONY BANK account. Plaintiff and Defendant continued to
                transact overa period of time. Defendant received statements reflecting charges
                made on said credit account. See Exhibit A attached hereto and incorporated word
                for word.

        5.      That Defendant did not object to any of said statements and therefore has assented
                to the accuracy of the statements and the balance, express or implied

        6.      That the amount due on the stated account is as follows, $658.39. Please see
                Plaintifl's Affidavit which is attached hereto and incorporated word for word.

        6.      That demand has been made for the payment of the stated account, yet the balance
                remains unpaid.

       WHEREFORE, Plaintiff prays for Judgment against the Defendant in the amountof
$658.39, for all costs herein paid and expended, and for all other proper relief.

                                                         Allen & Withrow
                                                         Attorneys at Law
                                                         P.O. Bo~l724.8
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                                                       ·. · Lon Withrow (98069)                                        ··,.
                                                            Colton GregQry (2013181)
                                                            Gary J Barrett (2000071)
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                 Case 4:16-cv-00884-JLH Document 1 Filed 12/07/16 Page 20 of 31

                                                           AFFIDAVIT

Commonwealth of Virginia
City of Norfolk ss.
                        Dianna O. Williams                                                       ,. ·, ",,.,
I, the undersigned, _ _ _ _ _ _ _ _ _ _ _ _ , Custodian of Records, for Portf6llcd{etovery A$sociates. LLC
hereby depose, affirm and state as follows:

l.      Jam competent to testify to the matters contained herein.

2.      l am an authorized employee of Po,rtfolio Recovery Associates, LLC, ("Account Assignee") which is doing
business at Riverside Commerce Center. 120 Corporate Boulevard, Norfolk. Virginia, and I am authorized to make the
statements, representations and avennents herein, and do so based upon a review of the business records of the Original
Creditor SYNCHRONY BANKIW AL-MART and those rec(>rds transferred to Account Assignee from SYNCHRONY
BANK ("Account Seller"), which have become a part of and have integrated into Account Assignee's business records, in
the ordinary course of business.

3.      According to the business records, which are maintained in the ordinary course of business, the acoount. and all
proceeds of the account are now owned by the Account Assignee, aJJ of the Account Seller's interest in such account
having been sold,. assigned and transferred by the Account Seller on 12/19/2015. Further; the Account Assignee has been
assigned all of the Account Seller's power and authority to do and perform all acts necessary for the settlement,
satisfaction, compromise, collection or adjustment of said account, and the Account Seller has retained no further interest
in said account or the proceeds thereof, for any purpose what~oever.

4.        According to the records transferred to the Account Assignee from Account Seller, and maintained in the ordinary
course of business by the Account Assignee, there was due a11d payable from BRANDON CASH ("Debtor and Co-
Debtor") to the Account Seller the sum of $ 658.39 with the respect to account number ending in 6463 as of the date of
ll/6/2015 with there being no known un-credited payments. counterclaims or offsets against the said debt as of .the date of
the sale.

5.       According to the account records of said Account Assignee. after all known payments, counterclaims. and/or
setoffs occurring subsequent to the date of sale, Account Assignee claims the sum of$ 658.39 as· due and owing as of the
date of this affidavit.

6.      Plaintiff believes that the defendant is not a minor or an incompetent individual, and declares that the Defendant is
not on active military service of the United States.

Portfolio Recovery Associates, LLC
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                                 This communication is from a debt collector and is an attempt to rollect a debt.
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                                   Verification
    State of Arkansas )
    County of Pualski )

        Under 28 U.S.C. § 1746, Plaintiff Brandon Cash, having first been duly
    sworn and upon oath, verifies, certifies, and declares as follows:

          1. I am the Plaintiff in this civil action.
          2.    I have read the foregoing Complaint prepared by my attorneys.
          3. I believe that all of the facts contained in the Complaint are true,
    to the best of my knowledge, information, and belief formed after a
    reasonable inquiry.
          4.    I believe that this Complaint is well grounded in fact and
    warranted by existing law or by a good faith argument for the extension,
    modification, or reversal of existing law.
          5. I believe that this Complaint is not interposed for any improper
    purpose, such as to harass any named Defendant, cause unnecessary delay
    to any named Defendant, or create a needless increase in the cost of
    litigation to any named Defendant.
          6.    I have filed this Complaint in good faith and solely for the
    purposes set forth in it.
          7.    Each and every exhibit I provided to my attorneys attached to the
    Complaint is a true and correct copy of the original.
          8.    Except for any clearly indicated redactions made by my attorneys,
    I have not altered, changed, modified, or fabricated these exhibits.

         I declare under penalty of perjury that the foregoing is true and
    correct.

    This 6th day of December, 2016.              p-t-
                                            Braridon Cash
